12/14/22, 8:33 AM        Case 2:22-cv-02107-DGChttps://www.azd.uscourts.gov/cgi-bin/generate_civil_js44.pl
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                                               UNITED STATES DISTRICT COURT
                                                   DISTRICT OF ARIZONA


                                                     Civil Cover Sheet
  This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
  1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
  herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for
  use only in the District of Arizona.

    The completed cover sheet must be printed directly to PDF and filed as an attachment to the
                               Complaint or Notice of Removal.

                                                                                        Douglas A. Ducey , Governor of the
                                                                                        State of Arizona; State of Arizona ;
                                                                                        Arizona Department of Emergency
                                                                                        and Military Affairs ; Kerry L.
                                                                                        Muehlenbeck, in her official capacity
                                                                                        as Adjutant General, Arizona
   Plaintiff(s): United States of America                                 Defendant(s):
                                                                                        Department of Emergency and
                                                                                        Military Affairs ; Allen Clark, in his
                                                                                        official capacity as Director of
                                                                                        Arizona Division of Emergency
                                                                                        Management, Arizona Department
                                                                                        of Emergency and Military Affairs
   County of Residence: Outside the State of Arizona                     County of Residence: Maricopa
   County Where Claim For Relief Arose: Maricopa


   Plaintiff's Atty(s):                                                  Defendant's Atty(s):
   Smith A. Andrew , Senior Trial Attorney
   U.S. Department of Justice
   201 Third Street N.W.
   Albuquerque, New Mexico 87103
   505-224-1468


   Shaun M. Pettigrew , Senior Trial Attorney
   U.S. Department of Justice
   7600 Sand Point Way, NE
   Seattle, Washington 98155
   202-532-5973


   Tyler M. Alexander , Trial Attorney
   U.S. Department of Justice
   P.O. Box 7611
   Washington, DC 20044
   202-305-0238


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                                                   Document 1-1 Filed 12/14/22 Page 2 of 2

  II. Basis of Jurisdiction:                    1. U.S. Government Plaintiff

  III. Citizenship of Principal
  Parties (Diversity Cases Only)
                            Plaintiff:- N/A
                          Defendant:- N/A

  IV. Origin :                                  1. Original Proceeding

  V. Nature of Suit:                            950 Constitutionality of State Statute

  VI.Cause of Action:                           U.S. Constitution and federal common law.

  VII. Requested in Complaint
                      Class Action: No
                   Dollar Demand:
                     Jury Demand: No

  VIII. This case IS RELATED to Case Number 2:22-cv-1814-PHX-DGC assigned to Judge Campbell.

  Signature: Shaun M. Pettigrew

         Date: 12/14/2022
  If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser
  and change it. Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

  Revised: 01/2014




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